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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

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                                         DEBRA ANN HORN,
                                   7                                                        Case No. 19-cv-02488-JCS
                                                          Plaintiff,
                                   8
                                                 v.                                         ORDER APPOINTING COUNSEL
                                   9
                                         SAFEWAY INC.,
                                  10
                                                          Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Because Plaintiff Debra Horn has requested and is in need of counsel to assist her in this

                                  14   matter and volunteer attorneys are willing to be appointed to undertake this representation at the

                                  15   request of the Federal Pro Bono Project, the below listed attorneys are hereby appointed as counsel

                                  16   for Ms. Horn in this matter:

                                  17
                                       Jennifer Seraphine (CA SBN 245463)                    Turner Boyd
                                  18   Keeley I. Vega (CA SBN 259928)                        702 Marshall St Ste 640,
                                                                                             Redwood City, CA 94063
                                  19

                                  20   The scope of this referral shall be for all purposes for the duration of the case. All proceedings in
                                  21   this action are hereby stayed until February 1, 2022. Counsel shall be familiar with General
                                  22   Order No. 25, governing Appointment and Reimbursement of Pro Bono Counsel, posted on the
                                  23   Court’s website.
                                  24          IT IS SO ORDERED.
                                  25   Dated: January 3, 2022
                                  26                                                    ______________________________________
                                  27                                                    JOSEPH C. SPERO
                                                                                        Chief Magistrate Judge
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